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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                              PLAINTIFF

v.                                  No. 4:08CR00377-03 JLH

CHANTELL DENISE BENTLEY                                                            DEFENDANT


                                            ORDER

       The United States has filed a motion to amend the judgment. The motion recites that the

judgment entered on September 2, 2009, ordered restitution in the amount of $129,102.48. A chart

was attached to the judgment listing the victims and the amount of restitution to each victim.

According to the government, the total amount of restitution is correct, but the chart reflects an

incorrect amount of restitution for Town North Bank. The government says that the proper amount

should be $1,084.72, instead of $488.61 as shown on the chart.

       Chantell Denise Bentley has responded and stated that she does not object to the motion to

amend. Therefore, without objection, the motion to amend is GRANTED. Document #71. The

judgment is hereby amended to reflect that the restitution payable to Town North Bank is $1,084.72.

       IT IS SO ORDERED this 5th day of October, 2009.




                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
